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                         UN ITED STA TES D ISTRICT C OUR T FOR TH E
                              SOUTH ERN DISTRICT OF FLORIDA
                                      M IA M ID IV ISION

  CHARLES STEW BERG,individually and
  on behalfofa11others sim ilarly situated,
         Plaintiff,
         vs.                                C ase Num ber: 18-23786-C IV -M A R T1N EZ-
                                             O TA ZO -R EYE S

  OPK O H EA LTH ,lN C.,PH ILLIP FRO ST ,
  ADAM LOGAL,,and JUAN RODRIGUEZ,
         D efendants.
                                                /

  A D SPORTS,IN C.and A M ID EX FUN D S,
         Plaintiffs,

         VS.                                   C aseN um ber:19-20003-CIV -M A R TlNE Z-
                                               O TA ZO -R EYE S
  OPK O HEA LTH ,IN C .and PH ILLIP
  FRO ST,
        D efendants.
                   .                            /


  JA SON K ERZN O W SK I,individually and
  on behalfofallotherssim ilarly situated,
         Plaintiff,

                                               C aseN um ber: 19-20502-CIV -M A R TINE Z-
                                               O TA ZO -R EY ES

  O PK O H EA LTH ,lN C .,PH ILLIP FR OST,
  ADAM LOGAL,andJUAY F.RODRIGUEZ,
         D efendmlts.
                                                /

                        O RD ER C ON SO L ID AT IN G R ELA TED CA SES

         THIS CAUSE cam ebeforethe Courtupon suasponte review ofthe record in theabove-

  captioned cases. The Courthas carefully review ed the case files and is otherw ise fully advised in

  the prem ises.The Courtfinds that,pursuantto Fed.R .Civ.P.42,consolidation of the above-
Case 1:19-cv-20502-JEM Document 76 Entered on FLSD Docket 05/08/2019 Page 2 of 2



  captioned casesisappropriatefora11pup oses. Aftercarefulconsideration,itishereby:
                                                                          z'

         O RD ER ED A N D A D JUD G ED that

                 Theabove-captioned actionsarehereby CONSO LIDATED into one action for

  al1purposes(the''ConsolidatedCases'
                                    ').
                 A 1lpleadings and other flingsin connection w ith the Consolidated Casesshallbe

  filed in Case N um ber: 18-23786-CIV -M A RTlN EZ-O TA ZO -M Y ES.

                 The Clerk ofthe CourtisD IR E CTED to AD M IN ISTR ATIVEL Y C LO SE C ase

  N um ber: 19-20502-ClV -M A RTIN EZ-O TA ZO -M Y ES and C ase N um ber: 19-20003-CIV -

  M A R TIN EZ-O TA ZO -R EY ES.A ccordingly,a11pending m otions are D EN IE D as M O O T in

  those cases.

                 TheClerk ofthe Coul'tisDIRECTED to fileacopy ofthisOrderin each ofthe

  above-captioned cases.

         DONEAND OIIDERED inChambersatMiami,Florida,this% dayof y,2019.
                                                                 .
                                                                     f
                                                    JO SE . A RTIN EZ
                                                    UNIT      STATES DISRX ICT JUDGE
  Copiesprovidedto:
  M agistrateJudgeOtazo-Reyes
  A 11CounselofRecord
